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                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF TEXAS
                            AUSTIN DIVISION

MWK RECRUITING, INC.
           Plaintiff,
      v.                                Civil Action No. 1:18-cv-00444
EVAN P. JOWERS, YULIYA
VINOKUROVA, ALEJANDRO VARGAS,
and LEGIS VENTURES (HK) COMPANY
LIMITED (aka Jowers / Vargas),
           Defendants.


EVAN P. JOWERS

          Counterclaimant,

     v.

MWK RECRUITING, INC., ROBERT E.
KINNEY, MICHELLE W. KINNEY,
RECRUITING PARTNERS GP, INC.,
KINNEY RECRUITING LLC, COUNSEL
UNLIMITED LLC, and KINNEY
RECRUITING LIMITED

          Counter-defendants.


  DECLARATION OF EVAN P. JOWERS IN OPPOSITION TO PLAINTIFF AND
  COUNTER-DEFENDANTS MOTION FOR PARTIAL SUMMARY JUDGMENT
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                           DECLARATION OF EVAN P. JOWERS


       I, Evan P. Jowers, hereby declare as follows:

       1.      I am of sound mind, I am capable of making this declaration (“Declaration”), and

I have personal knowledge of the facts stated in this Declaration. All of the facts stated in this

Declaration are true and correct. I am over 21 years of age, and I have never been convicted of a

felony or a crime of moral turpitude in any jurisdiction.

       2.      When I resigned Kinney Recruiting on December 16, 2016, I was told that I

would get full credit for my commission for Hui Zhu, and that this would cover my balance on

the loans. I was only informed that Kinney took the position that my commission for Hui Zhu

would be reduced after the litigation started.

       3.      I was never informed that I owed any money to the Kinney Entities before the

original lawsuit was filed in March 2017. I was never informed that my work expenses in Hong

Kong in 2015-2016 would convert into a loan accruing 17% interest. I was never informed by

anyone that Kinney was withholding 30% of my commission from Hui Zhu for any reason.

       4.      I only learned that the Kinney Entities would try to enforce the 2006 Employment

Agreement in Court after I resigned. I never believed this agreement was enforceable for many

reasons, including the fact that Robert Kinney never abided by the commission structure in that

contract.

       5.      Robert Kinney also made me believe that he was obtaining a work visa in 2015,

when I moved to Hong Kong to work for his company. Robert Kinney sent me a contract with

his Hong Kong entity “Kinney Recruiting Limited” which was required under Hong Kong law to

get a work visa.

       I declare under penalty of perjury under the laws of the United States that the foregoing is



DECLARATION OF JOWERS                            2
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                               CERTIFICATE OF SERVICE

       I hereby certify that, on January 27, 2021, a true and accurate copy of the foregoing

document was served on all counsel of record via the Court’s CM/ECF system.



                                           /s/ Robert Tauler
                                          Robert Tauler




DECLARATION OF JOWERS                        4
